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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF IOWA
                                CENTRAL DIVISION

VEROBLUE FARMS USA, INC.,                       )
                                   Plaintiff,   )
                                                )
v.                                              )   Case No. 3:18-cv-03047-LTS
                                                )
LESLIE A. WULE, BRUCE A. HALL,                  )
JAMES REA, JOHN E. REA, AND KEITH               )
DRIVER,,                                        )
                          Defendants..          )

                                  NOTICE OF FILING

       PLEASE TAKE NOTICE that on March 18, 2019, we caused to be filed with the
Northern District of Iowa, Central Division, Excerpts from March 13, 2019 bankruptcy court
hearing quoted in Plaintiff’s Resistance to “Nonparties’ (Nelsons’) Motion to Quash
Subpoenas Or For Protective Order [Dkt. 44], a copy of which is attached hereto and hereby
served upon you.

                                                Respectfully submitted,

                                                VEROBLUE FARMS USA, INC


                                                /s/ Robert H. Lang
                                                One of its Attorneys

Matthew E. Laughlin AT0004515                   Robert H. Lang
Holly M. Logan AT0004710                        Renato Mariotti
Katelynn T. McCollough AT0013443                Caroline Pritikin
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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                               CENTRAL DIVISION

VEROBLUE FARMS USA, INC.,                     )
                                 Plaintiff,   )
                                              )
v.                                            )   Case No. 3:18-cv-03047-LTS
                                              )
LESLIE A. WULE, BRUCE A. HALL,                )
JAMES REA, JOHN E. REA, AND KEITH             )
DRIVER,,                                      )
                          Defendants..        )




 Excerpts from March 13, 2019 bankruptcy court hearing
     quoted in Plaintiff’s Resistance to “Nonparties’
(Nelsons’) Motion to Quash Subpoenas Or For Protective
                     Order [Dkt. 44]



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                                                                            1

 1                     UNITED STATES BANKRUPTCY COURT

 2                   FOR THE NORTHERN DISTRICT OF IOWA

 3
     ____________________________
 4
     In Re Chapter 11 of:
 5
     VEROBLUE FARMS USA, INC.,               Case No. 18-01297
 6
                     Debtor,                 March 13, 2019
 7                                           Cedar Rapids, IA

 8   ____________________________

 9
                               HEARINGS HEARD
10                      BEFORE JUDGE THAD J. COLLINS

11   APPEARANCES:

12   For the Debtor:              Dan Childers, Esq.
                                  Joe Peiffer, Esq.
13                                Holly Logan, Esq.

14   For Ad Hoc Equity
     Committee (On behalf         Jordan Talsma, Esq.
15   of John Walker):             John Guzzardo, Esq.

16   For Broadmoor
     Financial LP:                Jeff Taylor, Esq.
17
     For Unsecured
18   Creditors Committee:         Kristina Stanger, Esq.
                                  Tom Fawkes, Esq.
19
     For Alder Aqua, Ltd.:        Eric Lam, Esq.
20                                Michael Pankow, Esq.

21   For Amstar Acquisitions
     LLC:                    Ron Martin, Esq.
22
     For SNB Farm Partnership:       Laura Hyer, Esq. (by phone)
23
     For U.S. Trustee:            Ashley Zubal, Esq.
24
     Proceedings recorded by: Bankruptcy Court Personnel
25   Proceedings transcribed by: Wendy Schneider

     VeroBlue Farms USA, Inc., Debtor                              3.13.19
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                                                                         38

 1              JUDGE COLLINS:     All right.     Anybody else?    All

 2          right.    Mr. Guzzardo, a lot of problems.        A lot of

 3          problems you pointed out.      I will tell you, I'm not a

 4          guy that loves to throw the book at people but I, if I,

 5          this is just a warning, I've given this warning in

 6          other cases too.     Probably just something to think

 7          about.    Be careful making representations to the

 8          District Court and the Bankruptcy Court, that might be

 9          different because one of us usually ends up not very

10          happy about it.     So, with that said, go ahead and give

11          me your, your response to the Rule 2019 Motion,

12          particularly the comments made by Mr. Childers and Mr.

13          Pankow.

14              MR. GUZZARDO:     I understand your admonition, Your

15          Honor, and the information or the statements in the, in

16          the District Court Motion Quash are, are not correct.

17          And that is reflected in the 2019 statements that we

18          have filed in this case.

19              JUDGE COLLINS:     Has that been corrected at the

20          District Court?

21              MR. GUZZARDO:     I, not to my knowledge.       We did not

22          draft that, Your Honor.

23              JUDGE COLLINS:     Okay.   Go ahead.

24              MR. GUZZARDO:     So, I'll just address the arguments

25          as they sort of came in.       And the first thing that I

     VeroBlue Farms USA, Inc., Debtor                              3.13.19
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                                                                         48

 1          Maniaci was another shareholder who Mr. Lockard reached

 2          out to, to assist in generating and, and, and getting

 3          other people, minority shareholders on board.           But Mr.

 4          Lockard was the, the person who said, yes, let's do an

 5          Equity Committee.

 6              JUDGE COLLINS:     Who is he, by the way?

 7              MR. GUZZARDO:     He is the principle of Fishdish, LLC

 8          which has six million preferred shares.

 9              JUDGE COLLINS:     Okay.   Yep.    I remember now.

10          Thanks.    Okay.   Keep going.

11              MR. GUZZARDO:     And that, that's, that's the

12          instant.    He is the person who determined to form a

13          Committee and I will, I will not, you know, I will

14          represent to the Court that there have been

15          communications with the founders and they are a source

16          of factual information for us as we continue to

17          prosecute claims and try to defend the interests of

18          minority shareholders in this case.

19              JUDGE COLLINS:     All right.     Anything further?

20              MR. GUZZARDO:     No, Your Honor.

21              JUDGE COLLINS:     Anything further, Mr. Childers?

22              MR. CHILDERS:     If I may briefly, Your Honor.

23              JUDGE COLLINS:     Go ahead.

24              MR. CHILDERS:     There are just two points I'd like

25          to make.   First of all, there have been pleadings filed

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                              CERTIFICATE OF SERVICE

       Arianna Thornton, a non-attorney, hereby certifies under penalties as provided by law,
that on March 18, 2019, she caused a true and correct copy of the foregoing Excerpts from
March 13, 2019 bankruptcy court hearing quoted in Plaintiff’s Resistance to “Nonparties’
(Nelsons’) Motion to Quash Subpoenas Or For Protective Order [Dkt. 44] to be served upon
counsel of record via ECF system of Iowa:


                                                                /s/ Arianna Thornton
